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Attorney for the Plaintiff


                         UNITED STATES DISTRICT COURT

                               DISTRICT OF NEVADA

                                          ***

  L.G. a minor, by and through his
  parent and natural guardian JEFF
  GORELICK;                                     Case No.: 3:22-cv-00228-MMD-CLB

         Plaintiff,
                                                CORRECTED CERTIFICATION TO
                                                PLAINTIFF’S EX PARTE MOTION
         vs.
                                                FOR TEMPORARY RESTRAINING
                                                ORDER AND PRELIMINARY
                                                INJUNCTION
  WASHOE COUNTY SCHOOL
  DISTRICT, a political subdivision of
  the State of Nevada; Superintendent
  of the Washoe County School District
  KRISTEN MCNEILL; and Washoe
  County School District Area
  Superintendent MICHAEL PAUL.
  __________________________________/


      COMES NOW, Plaintiff L.G., a minor, by and through his parent and natural

guardian JEFF GORELICK, by and through the undersigned counsel, and hereby

files the following Corrected Certification of counsel to the Ex Parte Motion for

Temporary Restraining Order and Preliminary Injunction against WASHOE COUNTY

SCHOOL DISTRICT (“WCSD”); Superintendent of the Washoe County School


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District KRISTEN MCNEILL (“McNeill”) and Washoe County School District Area

Superintendent DR. MICHAEL PAUL (“Paul”) for violation of L.G.'s right to be free

from unlawful seizure in violation of the Fourth Amendment to the United States

Constitution.



                  RESPECTFULLY SUBMITTED this May 24, 2022:

                                 By: ____/s/ Luke Busby, Esq. _____

                                    Luke Busby, Esq.
                                    Nevada Bar No. 10319
                                    316 California Ave. #82
                                    Reno, Nevada 89509
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                                    Attorney for the Plaintiff




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                           CORRECTED CERTIFICATION

                            (Corrections in bold below)

     Pursuant to the requirements of FRCP 65(b)(1)(B), the undersigned counsel for

L.G. certifies that on May 23, 2022 at approximately 11:50 a.m. an email was sent to

counsel for WCSD, Mr. Neil Rombardo and Mr. Chris Reich, notifying WCSD of the

Plaintiff's intent to seek a temporary restraining order and apprising WCSD of the

basic facts underlying this dispute. On May 23, 2022, Counsel for WCSD, Sara

Montalvo, Esq., responded and corresponded with the undersigned counsel

regarding the Plaintiff's intent to seek a temporary restraining order. On May 24,

2022, counsel Montalvo confirmed that L.G. will not be permitted to return to class

by WCSD in person with his backpack until his backpack is searched.


                   RESPECTFULLY SUBMITTED this May 24, 2022:

                                   By: ____/s/ Luke Busby, Esq. _____

                                     Luke Busby, Esq.
                                     Nevada Bar No. 10319
                                     316 California Ave. #82
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                                     Attorneys for the Plaintiff




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                              CERTIFICATE OF SERVICE

      Pursuant to FRCP 5(b), I certify that on the date shown below, I caused service

to be completed of a true and correct copy of the foregoing document by:

______       personally delivering;

______       delivery via Reno/Carson Messenger Service;

______       sending via Federal Express (or other overnight delivery service);

___x___      depositing for mailing in the U.S. mail, with sufficient postage affixed

thereto; or, delivery via electronic means (fax, eflex, NEF, etc.) to:

             Sara K. Montalvo, Esq.
             Andrea Schulewitch, Esq.
             General Counsel
             Office of the General Counsel
             425 East Ninth Street
             Reno, NV 89512
             Phone: 775.348.0300
             Fax: 775.333.6010

             Attorneys for Washoe County School District


             By: __/s/ Luke Busby, Esq. ______                Dated: May 24, 2022

                    Luke Busby




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